                          IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA
                                  CAUSE NO. 1:16-cv-00370


TIMOTHY H. CHAPMAN, as
Administrator of the Estate of
ALMA P. CHAPMAN                                                                            Plaintiff

v.

SSC CONCORD OPERATING
COMPANY LLC (dba "Brian Center
Health & Retirement/Cabarrus"), a
Delaware Limited Liability Company                                                         Defendant



                                NOTICE OF CASE RESOLUTION


           COME NOW the parties, Timothy H. Chapman, as Administrator of the Estate of Alma P.

Chapman, by and through counsel, and SSC Concord Operating Company d/b/a Brian Center

Health and Retirement/Cabarrus, by and through counsel, in the above styled cause of action and

notify the Court that this matter settled during mediation which was held on March 23, 2017, and the

parties would further state as follows:

           1.    The parties are in the process of finalizing the terms of the settlement agreement and

release.

           2.    The parties anticipate the settlement to be finalized on or before May 8, 2017, at which

time a joint stipulation of dismissal and proposed Order will be filed for the Court’s consideration.

           3.    That this matter can be removed from the Court’s January 18, 2018, trial docket.




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       Respectfully submitted this, the 10th day of April, 2017.

PLEASANT LAW, PLLC                                   HAGWOOD ADELMAN TIPTON PC

BY: /s/ Thomas W. Pleasant                           BY:    /s/ Michael E. Phillips
    Thomas W. Pleasant (NCBN 28480)                         Michael E. Phillips (NCBN 45198)
                                                            Carl Hagwood (NCBN 43919)
                                                                   Attorneys for Defendant
LAW OFFICE OF DAVID PISHKO, P.A.

BY: /s/ Anna Kalarites
       Anna Kalarites (NCBN 47849)
       Attorneys for Plaintiff



                                CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day served the foregoing document on all of
the parties to this cause by:

_____ Hand delivering a copy hereof to each party’s attorney as listed below

_____ Depositing a copy hereof, postage paid, in the United States Mail, addressed to each
      party’s attorney as listed below

_____ Depositing a copy hereof with a nationally recognized overnight courier service, for
      overnight delivery, addressed to each party’s attorney as listed below

_____ Telecopying a copy hereof to each party’s attorney as listed below

_____ Electronically filing a copy of hereof with the Court’s electronic case filing system which
      will send electronic mail notification of the filing of the foregoing document to each
      party’s attorney as listed below

 X    Sending via electronic mail to each party’s attorney as listed below

               David Pishko (david@davidpishko.com)
               Anna Kalarites (anna@davidpishko.com)
               Law Office of David Pishko, P.A.
               100 North Cherry Street, Suite 510
               Winston-Salem, NC 37101




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       Thomas W. Pleasant (twp@pleasantlaw.com)
       Pleasant Law, PLLC
       P.O. Box 565
       Wrightsville Beach, NC 28480

This, the 10th day of April, 2017.

                                       /s/ Michael E. Phillips
                                       Michael E. Phillips




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